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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



    PERENCO ECUADOR LTD.,

                       Petitioner,               Case No. 1:19-cv-02943-KBJ

                vs.


    REPUBLIC OF ECUADOR,

                       Respondent.



                                     NOTICE OF FILING

        In accordance with the Court’s Minute Order dated October 19, 2021, Respondent, the

Republic of Ecuador, hereby submits its English translations of (1) the Second Expert Report of

Carlos Andrés Coronel Endara on Ecuadorian Tax Law (ECF No. 40-2) and accompanying

exhibits (ECF Nos. 40-4 through 40-13)1; and (2) the Second Declaration of Andrés Danilo

Ordóñez Córdova (ECF No. 40-14) and accompanying exhibits (ECF Nos. 40-15 through 40-

48).




1Exhibit 1 to the Second Coronel Report (ECF No. 40-3) was submitted originally in English.
Accordingly, there is no translation to be submitted for Prof. Coronel’s Exhibit 1.
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Dated: October 25, 2021                 Respectfully submitted,

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